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                                                   STATEMENT OF FACTS

On Wednesday, Febuary 12, 2020 at approximately 7:10 p.m., members of the Metropolitan Police Department (MPD) Seventh
District Crime Suppression Team (7D CST) were on active patrol when several gunshots were heard in the area near the 2500
blocks of Naylor Road Southeast in Washington, D.C. Command Information Center Shot Spotter reported two rounds then three
rounds being fired at 7:04 pm at 2423 T Street Southeast. Officers responded to the block and began to canvass for the shooter.

While in the 1700 block of 27th Street Southeast in Washington, D.C. the officers observed an individual, later identified as
Alphonzo Dyer III (Defendant Dyer), walking in the rain with a white and blue jacket. While walking, Defendant Dyer did not
appear to be naturally swinging his arms – which is a typical behavior displayed by armed subjects.

Officers Smith and Sfolgia exited their vehicle to make contact with Defendant Dyer, jogging to catch up with him. As they
approached, Defendant Dyer, Officer Smith asked “What’s up man?” at which point, Defendant Dyer began to run away from
officers. Officers pursued Defendant Dyer on foot. While running, Officer Smith observed Defendant Dyer with a firearm in his
right hand and stated, “he’s got a glicky (a term commonly used for a firearm on the streets)” to alert the other officers.

As officers got closer to Defendant Dyer, officers observed him throw the firearm over a black iron fence into the area on the
other side. Defendant Dyer was apprehended very shortly after tossing the firearm. Sergeant VanDyke and Officer Dean
canvassed the grassy area on the side of the iron fence that the firearm was thrown to by Defendant Dyer. After approximately
three minutes, the firearm was located under a lamp post in the parking lot. The firearm appeared to have grass stuck in the barrel
of the weapon, as if it landed in the grass and bounced into the parking lot with force. Defendant Dyer was placed under arrest in
the rear of 1719 27th Street Southeast.

Defendant Dyer did not provide an indication that he was authorized to carry a pistol in the District of Columbia and there is no
WALES/NCIC record of the firearm being registered to Defendant Dyer or anyone else in Washington, D.C.

The firearm was determined to be a Springfield Armory, model XP XD-9 sub-compact, .9 millimeter handgun with a serial
number of GM942066. When it was recovered, it was loaded with one (1) round in the chamber and thirteen (13) rounds of
ammunition in a sixteen (16) round capacity magazine. A WALES/NCIC check of the firearm revealed that the firearm was
stolen out of the state of Georgia, reported by Clayton County Police Department in Georgia on 10/21/2018.

Once transported to the Seventh District, Defendant Dyer was read his Miranda Rights and waived his rights in writing. During
the videotaped interview with MPD Detective Ellingsworth, Defendant Dyer admitted to possession of the firearm, by saying that
the gun was in his pocket while he was walking when the police went to contact him.

Officer Dean was present for the recovery of the weapon and the arrest of Defendant Dyer.

A criminal history check of Defendant Dyer through the National Crime Information Center confirmed that the defendant has a
prior felony conviction in the Seventh Judicial Court of Prince George’s County Maryland, Criminal Case No. T111368B for
Carjacking. The defendant served approximately one and a half years of jail time and was sentenced to twenty (20) years of
incarceration (18.5 years suspended) for this conviction. Therefore, the defendant was aware that this crime is punishable by
more than one year. There are no firearm or ammunition manufacturers in the District of Columbia.


                                                            _____________________________________
                                                            OFFICER BRANDON DEAN
                                                            METROPOLITAN POLICE DEPARTMENT

SWORN AND SUBSCRIBED BEFORE ME ON THE 13th DAY OF FEBRUARY, 2020.


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                                                                      G. MICHAEL HARVEY
                                                                      U.S. MAGISTRATE JUDGE
